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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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: 23cv2006 (DLC)
ROMAN TERESHCHBENKO,
ORDER
Petitioner,
—VO

YASAMIN KARIMI,

Respondent.
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DENISE COTE, District Judge:

This case has been assigned to me for all purposes. It is

hereby

ORDERED that a conference shall be held in this case on
March 21, 2023 at 3:00 p.m. in Courtroom 18B, 500 Pearl Street,
New York, New York 10007.

IT IS FURTHER ORDERED that counsel for petitioner shall
promptly serve respondent with this Order and the petition and

shall, by March 17, 2023, file proof of such service on ECF.

Dated: New York, New York
March 13, 2023

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DENISE COTE
United States District Judge

